 
    

        
		
        

        
        
        
        
        

        
		
        	
		RE SUSPENSION OF 2020 CONTINUING EDUCATION REQUIREMENTS FOR CERTIFIED AND REGISTERED COURTROOM REPORTERS



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:RE SUSPENSION OF 2020 CONTINUING EDUCATION REQUIREMENTS FOR CERTIFIED AND REGISTERED COURTROOM REPORTERS

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				RE SUSPENSION OF 2020 CONTINUING EDUCATION REQUIREMENTS FOR CERTIFIED AND REGISTERED COURTROOM REPORTERS2020 OK 35Decided: 05/18/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 35, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 


&nbsp;


Re: Suspension of 2020 Continuing Education Requirements for Certified and Registered Courtroom Interpreters




ORDER


¶1 Due to the impacts of the COVID-19 pandemic, the State Board of Examiners of Certified Courtroom Interpreters has requested the Supreme Court to suspend the continuing education requirements for Registered and Certified Courtroom Interpreters for calendar year 2020. See Rule 19 of the Rules of the State Board of Examiners of Certified Courtroom Interpreters, Title 20, Chapter 23, Appendix 2.

¶2 For good cause shown, and as recommended by the Board, the Supreme Court hereby orders that the continuing education requirements applicable to Oklahoma Registered and Certified Courtroom Interpreters are suspended for the 2020 calendar year. Any approved continuing education hours that are accrued in 2020 may be carried over and counted towards the 2021 interpreter continuing education requirements.

¶3 DONE BY ORDER OF THE SUPREME COURT this 18TH day of May, 2020.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR






	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
